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                 IN THE UNITED STATES JUDICIAL DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


KANE COUNTY, UTAH (2), (3) and (4),              KANE COUNTY, UTAH’S AND THE
a Utah political subdivision; and STATE OF         STATE OF UTAH’S NOTICE
UTAH,
                                                       Case No. 2:10-cv-01073 CW
       Plaintiffs,
v.                                            (consolidated with 2:11-cv-1031, 2:12-cv-476)

UNITED STATES OF AMERICA,                                 Judge Clark Waddoups

       Defendant, and

SOUTHERN UTAH WILDERNESS
ALLIANCE, et al.,

      Intervenor-Defendants.
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        Plaintiffs Kane County, Utah (“Kane County”) and the State of Utah (“State”)

respectfully provide this Notice as an update following the recent evidentiary hearing (Aug. 21-

22) and memorandum decisions (ECF 792 and 816).

        Last week, September 16-18, 2024, the soil conditions were right and Kane County

installed the box culvert at the Buckskin Wash crossing. The installation is complete.




        The cleat marks shown in the photograph were created to facilitate reseeding. On

Wednesday of this week, September 25, 2024, native grass seed was spread across the ground

and the cleat marks are now raked in. Kane County will monitor the success of the reseeding and

take supplemental action if necessary.

        Kane County and the State greatly appreciate the Court’s timely rulings and prompt

attention to this matter.

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        RESPECTFULLY SUBMITTED this 27th day of September, 2024.

                                      HOLLAND & HART LLP

                                      /s/ Shawn Welch
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                                      * Signed with permission given to filing counsel

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